Case 20-10562-KHK         Doc 68     Filed 06/06/22 Entered 06/06/22 14:16:57          Desc Main
                                    Document      Page 1 of 3



                         UNITED STATES BANKRUPTCY COURT

                                             FOR THE

                             EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 In the Matter of:

          MICHAEL NATHANIAL LEWIS                      Chapter 13
                      Debtor                           Case No. 20-10562-KHK

                                              ORDER

        THIS MATTER came before the Court in connection with hearing on Trustee’s Motion

to Dismiss (Dkt. #62) on June 2, 2022; and,

        It appearing that Trustee, Debtor and Debtor’s Counsel agree to a continuance of all

matters, it is hereby:

        ORDERED, that

    1. Trustee’s Motion to Dismiss (Dkt. #62) is continued to July 28, 2022 at 1:30 PM;

    2. By close of business on July 26, 2022 the Tuesday before the continued hearing date,

        Debtor is to have paid the sum of $1,350.00 (in addition to the $11,308.00 that have

        been paid through June 1, 2022), in certified funds to be received by the Trustee by

        said date;

    3. Upon Trustee’s representation that Debtor has not complied with the terms and

        deadline(s) in this Order this case shall be dismissed.


         Jun 6 2022                                    /s/ Brian F Kenney
Dated: _______________                                ____________________________
                                                      %ULDQ).HQQH\
                                                      United States Bankruptcy Judge

                                                          Entered on Docket: June 6, 2022
Case 20-10562-KHK        Doc 68    Filed 06/06/22 Entered 06/06/22 14:16:57        Desc Main
                                  Document      Page 2 of 3



Order
Michael Nathaniel Lewis
Case No. 20-10562-KHK

Prepared by:



/s/Thomas P. Gorman
Thomas P. Gorman
Chapter 13 Trustee
300 North Washington Street
Alexandria, VA 22314

SEEN and AGREED:


/s/ Suad Bektic
Suad Bektic
New Day Legal
20 B John Marshall St.
Warrenton, VA 20186
Counsel for Debtor



                              Local Rule 9022-1(C) Certification

       The foregoing Order was endorsed by and/or served upon all necessary parties pursuant
to Local Rule 9022-1(C).

/s/ Thomas P. Gorman______________
Thomas P. Gorman
Case 20-10562-KHK        Doc 68    Filed 06/06/22 Entered 06/06/22 14:16:57   Desc Main
                                  Document      Page 3 of 3



Order
Michael Nathaniel Lewis
Case No. 20-10562-KHK

PARTIES TO RECEIVE COPIES


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